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12                                                HOUWELING’S NURSERIES
                                                   OXNARD, INC.;
13                                                HNL HOLDINGS LTD.;
                                                  HOUWELING UTAH
14                                                 OPERATIONS, INC.; AND
                                                  HOUWELINGS NURSERIES LTD.
15
16                              IN THE UNITED STATES DISTRICT COURT
17                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                         WESTERN DIVISION
19
           CH2O, INC.,                 )            Civil Action No.
20                                     )            2:13-cv-08418-JAK-GJS
                    Plaintiff,         )
21                                     )            DEFENDANTS’ OBJECTIONS
           v.                          )            TO PLAINTIFF’S
22                                     )            APPLICATION TO TAX
23         MERAS ENGINEERING, INC.;    )            COSTS
           HOUWELING’S NURSERIES       )
24         OXNARD, INC.; HNL HOLDINGS  )
           LTD.; HOUWELING UTAH        )
25         OPERATIONS, INC.; AND       )            Hon. John A. Kronstadt
           HOURWELINGS NURSERIES LTD., )
26                                     )
                    Defendant.         )
27                                     )
28

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1                   Meras Engineering, Inc. (“Meras”); Houweling’s Nurseries Oxnard, Inc.;
2          HNL Holdings Ltd.; Houweling Utah Operations, Inc.; and Houweling’s
3          Nurseries Ltd. (“Houwelings”) (collectively, “Defendants”), through their
4          counsel, submit the following Objections to CH2O, Inc.’s (“CH2O”)
5          Application to Tax Costs.
6                                           I. INTRODUCTION
7                   CH2O seeks to recover $79,731.74 in costs from Defendants. The costs
8          span six areas: (1) filing fees, (2) service of process fees, (3) reporter transcripts,
9          (4) depositions, (5) witness fees; and (6) certification, exemplification and
10         reproduction of documents. Each area, however, contains costs that are not
11         allowed by law. In total, CH2O’s application includes $33,806.64 that are not
12         recoverable. Defendants object to these costs and request that the Court deduct
13         that amount from CH2O’s application.
14                                          II. OBJECTIONS
15                  Federal Rule of Civil Procedure 54(d) allows the prevailing party to
16         recover its costs. Those costs, however, are limited by statute (28 U.S.C. §
17         1920) and the local rules of each court. The Civil Local Rules in the Central
18         District of California (“Local Rules”) list 13 categories of recoverable costs.
19         See Local Rules 54-3.1 to 54-3.13. Any cost outside those categories cannot be
20         recovered.
21                  Here, CH2O requests thousands of dollars in costs that do not fall within
22         the local rules. The following table summarizes those costs and subsequent
23         subsections state the grounds for Defendants’ objections.
24         Category            Requested     Contested Cost                            Contested
                               Amount                                                  Amount
25         Filing Fees         $ 809.50      Pro Hac Vice Filing Fee                   $ 325.00
                                             CH2O includes pro hac vice filing fees.
26                                           Local Rule 54-3.1 states that pro hac
27                                           vice fees are not recoverable.
           Service of          $ 1,866.08    Rush Service of Process                   $ 125.00
28         Process                           CH2O includes rush service of process

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1          Category            Requested     Contested Cost                              Contested
                               Amount                                                    Amount
2                                            fees. Courts have found that rush
                                             service of process fees are not
3                                            recoverable.
4          Depositions         $ 40,698.04   Realtime Services                           $ 14,170.79
                                             CH2O includes costs for Realtime
5                                            services. Courts have found that
                                             Realtime services are not recoverable.
6
                                             Rough Draft Transcripts
7                                            CH2O includes costs for rough draft
8                                            transcripts. Courts have found that
                                             rough draft transcripts are not
9                                            recoverable.
           Reporter’s          $ 18,855.66   ½ Cost of Trial Transcript plus             $ 11,501.95
10         Transcripts                       Rough Draft Transcripts
11                                           CH2O includes costs for the entire trial
                                             transcript, as well as rough draft
12                                           transcripts. The parties should share the
                                             cost of the trial transcript, and courts
13                                           have found that rough draft transcripts
                                             are not recoverable.
14         Witness Fees        $ 8,932.00    Preparation Time                            $ 3,774.00
15                                           CH2O includes costs for witnesses
                                             staying several days before and after the
16                                           trial. Local Rule 54-3.6 only allows
                                             witness fees for attending trial
17                                           proceedings.
           Certification,      $ 8,568.46    Copies of Depositions                       $ 3,909.90
18         exemplification                   CH2O includes costs for copying
19         and reproduction                  documents in preparation for
           of documents                      depositions. Local Rule 54-3.10 does
20                                           not allow for those costs.
           Total               $ 79,731.74                                               $ 33,806.64
21
22         A.       Filing Fees
23                  Civil Local Rule 54-3.1 allows the prevailing party to recover all “[f]iling
24         fees paid to the Clerk” except “pro hac vice filing fees.” Here, CH2O includes
25         $325 in costs for pro hac vice filing fees. (Dkt. 461-2 at 4, 6-7). Defendants
26         object to those costs.
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1          B.       Service of Process
2                   Civil Local Rule 54-3.2 allows the prevailing party to recover “[f]ees for
3          service of process.” The rule, however, does not include fees for expedited
4          service. Indeed, courts have found that rush service of process fees are not
5          generally recoverable. See Intellect Wireless, Inc. v. HTC Corp., No. 09 C
6          2945, 2015 WL 136142, at *10 (N.D. Ill. Jan. 8, 2015) (excluding rush service
7          of process fees because the prevailing party did not prove they were necessary);
8          see also B.W.A. v. Farmington R-7 Sch. Dist., No. 4:06CV1691, 2009 WL
9          724005, at *2 (E.D. Mo. Mar. 17, 2009) (“As Defendants have not demonstrated
10         the rush service was necessary, the Court reduces Defendants' bill of costs”).
11                  Here, CH2O includes five service of process receipts that include “Rush
12         Fees.” (Dkt. 461-2 at 9, 16-19.) Four of those receipts itemize the cost of the
13         rush fees, equaling $25 on average. (Id. at 16-19.) One receipt does not itemize
14         the cost. (Id. at 9.) Assuming the non-itemized rush fee costs the same as the
15         average itemized rush fee ($25), CH2O’s total expedited service fees equal
16         $125. Defendants object to those costs and request the Court to deduct that
17         amount from CH2O’s application.
18         C.       Depositions
19                  Local Rule 54-3.5 allows the prevailing party to recover the “[c]osts
20         incurred in connection with taking oral depositions,” and lists the specific costs
21         that are recoverable. That list does not include Realtime services or rough draft
22         transcripts. Id. at 54-3.5(a). Indeed, courts have found that Realtime services
23         and rough draft transcripts are not recoverable. See TransPerfect Global, Inc. v.
24         MotionPoint Corp., Case No. 10-cv-02590, 2014 WL 1364792, at *4 (N.D. Cal.
25         Apr. 4, 2014) (denying costs for Realtime); see also Alternative Med. &
26         Pharmacy, Inc. v. Express Scripts, Inc., No. 4:14 CV 1469 CDP, 2016 WL
27         3443574, at *3 (E.D. Mo. June 23, 2016) (“[R]ealtime transcript and laptop fees
28         and ASCII fees for depositions are also not recoverable as they were incurred
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1          for the convenience of counsel and not necessarily obtained for use in the
2          case.”); see also Brown v. The McGraw-Hill Companies, Inc., 526 F. Supp. 2d
3          950, 958 (N.D. Iowa 2007) (“Finally, the court shall not tax the cost of the
4          Realtime Trial Transcripts. The court finds these transcripts were obtained for
5          the convenience of McGraw-Hill's attorneys, and they were not necessary for
6          use in the case.”); see In re Greater Se. Cmty. Hosp. Corp. I, No. 02-02250,
7          2012 WL 1414841, at *3 (Bankr. D.D.C. Apr. 23, 2012) (“[T]he cost of
8          obtaining a rough draft transcript of a deposition as a form of expedited
9          transcript ordinarily ought to be disallowed.”).
10                  Here, CH2O includes thousands of dollars of Realtime and rough draft
11         costs. The table below outlines those costs in each deposition. Most of CH2O’s
12         receipts itemize these costs. Five receipts, however, list Realtime services and
13         rough draft transcripts but do not itemize the cost. (Dkt. 416-2 at 32-25, 42.)
14         CH2O bears the burden to prove its costs, and these receipts falls short of that
15         burden. See Local Rule 54-2.2.
16                  Notwithstanding, to estimate the Realtime and rough draft cost in those
17         non-itemized receipts, Defendants (1) calculated the average cost of Realtime
18         and rough draft services as a percentage of the total transcript cost in the
19         itemized receipts—21% for Realtime and 22% for rough draft respectively—
20         and (2) applied that percentage to the non-itemized receipts. Those estimates
21         are indicated below.
22         Pg Dkt.
           416-2        Deponent               Total Cost      Realtime              Rough Draft
23              27      Casey Houwling         $ 3,791.11     $ 570.50              $ 505.30
                28      Casey Houwling         $ 2,187.04     $ 304.50              $ 269.70
24
                29      William Schmidt        $ 2,343.55     $ 616.00              --
25              30      Bryan O'Connell        $ 1,744.90     --                    $ 427.80
                31      Christopher Binfield   $ 2,449.15     --                    $ 595.20
26
                32      Christopher Binfield   $ 3,597.25     $ 755.42 (estimate)   $ 791.40 (estimate)
27              33      Ion Sfetcu             $ 4,178.25     $ 877.43 (estimate)   $ 919.22 (estimate)
                34      Christopher Brocklesby $ 2,359.65     $ 495.53 (estimate)   $519.12 (estimate)
28
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1          Pg Dkt.
           416-2        Deponent             Total Cost      Realtime              Rough Draft
2               35      Casey Houwling       $ 2,747.10     $ 576.89 (estimate)   $ 604.36 (estimate)
                36      Carl Iverson         $ 1,345.00     --                    $ 417.00
3
                37      Joyce Prindle        $ 1,081.70     --                    $ 340.20
4               38      Anthony McNamara     $ 1,254.95     --                    $ 333.45
                39      Robert Gore          $ 366.50       --                    $ 99.00
5
                40      Kimberly Graham      $ 660.00       --                    $ 171.00
6               41      Slav Hermanowicz     $ 1,211.14     --                    $ 411.25
                42      Richard Bernier      $ 1,242.50     $ 260.93 (estimate)   $ 273.35 (estimate)
7               43      Casey Houwling       $ 2,220.10     $ 568.75              --
8               44      Shawn Hagerty        $ 1,151.00     --                    $ 280.00
                46      Bernard Bubnis       $ 3,042.55     $ 603.75              $ 534.75
9               47      Micah Siegel         $ 2,940.65     $ 770.00              --
10              48      Defroest McDuff      $ 1,127.50     --                    $ 279.00
                                                            $ 6,399.70            $ 7,771.10
11
12                                                          Total Combined        $ 14,170.79

13                  Overall, CH2O includes $14,170.79 of unrecoverable Realtime and rough
14         draft costs. Defendants object to those costs and request the Court to deduct
15         that amount from CH2O’s application.
16         D.       Reporter’s Transcripts
17                  Local Rule 54-3.4 allows the prevailing party to recover the cost of a trial
18         transcript “if requested by the Court or prepared pursuant to stipulation.”
19         Indeed, courts have found that “[t]here is a general presumption to deny awards
20         of costs for transcripts when they are not created through a court order or a
21         stipulation.” See Gunchick v. Fed. Ins. Co., No. CV 14-1162, 2015 WL
22         4451041, at *1 (C.D. Cal. July 17, 2015) (citation omitted); see also Andresen v.
23         Int'l Paper Co., No. 2:13-CV-02079, 2015 WL 3648972, at *6 (C.D. Cal. June
24         10, 2015) (“Generally, daily trial transcript costs should not be awarded absent
25         court approval prior to the trial.”). The only exception is “if the case is complex
26         and the transcripts proved invaluable to both the counsel and the court.”
27         Gunchick, 2015 CL 4451041 at *1.
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1                   Here, while CH2O incurred trial transcript costs absent any court order or
2          stipulation, Defendants note that the parties have now agreed to utilize one joint
3          transcript for purposes of post-trial motions, for the convenience of the Court.
4          Accordingly, while it may be appropriate for Defendants to bear ½ the cost of
5          the trial transcript, Defendants object to any trial transcript costs beyond that
6          amount. This includes the rough draft transcript costs. Local Rule 54-3.4 does
7          not include rough draft transcripts. Indeed, courts have found that rough draft
8          transcripts are not recoverable.      See In re Greater Se. Cmty. Hosp., WL
9          1414841, at *3 (“Charges for expedited transcripts ordinarily ought to be
10         disallowed as costs to the extent that they exceed the court reporter's standard
11         rate.”); see also Pan Am. Grain Mfg. Co. v. Puerto Rico Ports Auth., 193 F.R.D.
12         26, 34 (D.P.R. 2000) (stating that the additional costs for an expedited trial
13         transcript should not be permitted where a party "had ample representation
14         during trial, and their attorneys could have taken day-to-day notes on the
15         proceedings").
16                  Here, CH2O includes costs for a “clean rough same day” transcript for
17         each day of trial. (Dkt. 461-2 at 23.) CH2O’s receipts, however, are not
18         itemized, making it impossible to identify the exact amount of the rough draft
19         costs, as opposed to the trial transcripts. (Id.) CH2O bears the burden to prove
20         its costs, and these receipts falls short of that burden. See Local Rule 54-2.2.
21                  Notwithstanding, to estimate those costs, Defendants assumed that rough
22         drafts of trial transcripts cost the same as rough draft deposition transcripts, then
23         (1) calculated the average cost of rough draft transcripts as a percentage of the
24         total transcript cost in the deposition receipts (22%) and (2) applied that
25         percentage to the trial transcript costs ($18,855.66). This produced an estimate
26         of $4,148.25 in rough draft costs for CH2O.            The remaining amount of
27         $14,707.41 for the trial transcript itself is, as noted above, properly split
28         between CH2O and Defendants, $7,353.70 each.             Accordingly, Defendants
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1          object to the costs for CH2O’s rough drafts in the amount of $4,148.25 and
2          CH2O’s portion of the trial transcript in the amount of $7,353.70, and request
3          the Court to deduct the total amount of $11,501.95 from CH2O’s application.
4          E.       Witness Fees
5                   Local Rule 54-3.6 allows the prevailing party to recover the cost of
6          witnesses attending the proceedings. The rule, however, does not include any
7          costs for witnesses to stay before or after the trial. Indeed, courts have found
8          that witness fees are not recoverable for preparation time. See Smith v. Chicago
9          Transit Auth., No. 12 C 8716, 2015 WL 2149552, at *5 (N.D. Ill. May 6, 2015)
10         (“[B]ecause witness fees do not include preparation time, the CTA may not
11         recover costs for the travel expenses incurred by Mr. Cook to prepare for his
12         trial testimony.”).
13                  Here, CH2O lists costs relating to four witnesses for a six-day trial. Two
14         witnesses account for six days of travel per person for five days of trial each.
15         The average cost per day was $222.00. Defendants do not object to these costs.
16         However, CH2O’s other two witnesses—Slav Hermanowicz and Deforest
17         McDuff—account 16 days and 9 days of travel per person respectively, despite
18         only attending 8 days of trial combined. This amounts to 17 extra days of travel
19         and to $3,774.00 in costs that are not associated with their attendance at trial.
20         (Dkt. 461-2 at 49.) Defendants object to these costs and request the Court to
21         deduct $3,774.00 from CH2O’s application.
22         F.       Certification, Exemplification and Reproduction of Document
23                  Local Rule 54-3.10 allows the prevailing party to recover “[d]ocument
24         preparation costs,” and lists the specific costs that are recoverable. That list,
25         however, does not include copies of documents to prepare for depositions.
26                  Here, CH2O includes $3,909.90 for copies to prepare for depositions.
27         (Dkt. 461-2 at 50-55, 68-69, 71, 77, 84) One set of copies cost over $1,200.00.
28         (Id. at 77.) And several receipts explicitly state that the copies are for “Depo
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1          Prep.” (Id. at 68, 77.) These copies are not recoverable costs under Rule 54-
2          3.10. And CH2O has not proven that the copies were otherwise necessary.
3          Defendants object to the extra costs for copies related to deposition preparation
4          and request the Court to deduct $3,909.90 from CH2O’s application.
5                                         III. CONCLUSION
6                   Overall, CH2O includes $33,806.64 in costs that are not recoverable. The
7          Court should deny CH2O those costs and deduct that amount from CH2O’s
8          application.
9
10         Respectfully submitted,
11         KNOBBE, MARTENS, OLSON & BEAR, LLP
12         Dated: November 2, 2016
13
14         By:      /s/ Paul A. Stewart
15                  Paul A. Stewart
                    Michael K. Friedland
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1
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10
                   OPERATIONS, INC.; AND
11                 HOUWELINGS NURSERIES LTD.
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1                                   CERTIFICATE OF SERVICE
2
                   I hereby certify that on this 2nd day of November, 2016, a true and correct
3
          copy of the foregoing was served via the Court’s ECF system on all counsel of
4
5         record.
6
7                                                          /s/ Kristine E. Johnson_____
                                                           Kristine E. Johnson
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